                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION


UNITED STATES OF AMERICA,           )               DOCKET NO. 3:11CR190-MOC-DSC
                                    )
            v.                      )                ORDER TO UNSEAL CASE
                                    )
BONNIE BRIDGES, et al.              )
____________________________________)


       UPON MOTION of the United States of America, by and through Anne M. Tompkins,

United States Attorney for the Western District of North Carolina, for an order directing that the

the above-styled case be unsealed,

       IT IS HEREBY ORDERED that the Motion to unseal is granted and the Clerk of Court

shall unseal the above-styled case.

       SO ORDERED.

                                                Signed: November 8, 2011




    Case 3:11-cr-00190-MOC-DSC            Document 45        Filed 11/08/11     Page 1 of 1
